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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                             ENTERED
                                                                                           06/29/2016
IN RE:                                         §
ATP OIL & GAS CORPORATION                      §      CASE NO: 12-36187
       Debtor(s)                               §
                                               §      CHAPTER 7
                                               §
DIAMOND OFFSHORE COMPANY                       §
     Plaintiff(s)                              §
                                               §
VS.                                            §      ADVERSARY NO. 12-03425
                                               §
BENNU OIL & GAS, LLC                           §
     Defendant(s)                              §

                    RECOMMENDATION ON MOTION FOR LEAVE
                        TO FILE INTERLOCUTORY APPEAL

                                             and

                SECOND AMENDMENT TO MEMORANDUM OPINION

       The Court recommends that Diamond Offshore Company’s motion for leave to file an

interlocutory appeal be denied. The principal complaint raised by Diamond concerned a ruling

by this Court that placed the burden of proof with respect to the tracing of funds on Diamond.

Because the Fifth Circuit has now ruled on that issue in an unrelated case—but in Diamond’s

favor—that question is now moot and the Court amends its Memorandum Opinion.

                                         Background

       On December 3, 2015, Diamond Offshore Company filed a motion for leave to file

interlocutory appeal of this Court’s Memorandum Opinion dated October 28, 2015. (4:15-cv-

3337 at Dkt. No. 2). While Diamond’s motion for leave to file interlocutory appeal was pending,

it also filed a motion for reconsideration with this Court regarding the October 28 Memorandum

Opinion. (ECF No. 300). On January 5, 2016, the District Court issued an order in which it




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deferred ruling on the motion for leave to file interlocutory appeal until this Court ruled on the

motion for reconsideration. (4:15-cv-3337 at Dkt. No. 11). In the event the Bankruptcy Court

denied the motion for reconsideration, the District Court requested that the Bankruptcy Court

issue a recommendation on whether the District Court should grant Diamond’s motion for leave

to file an appeal. (Id.)

        In response to Diamond’s motion for reconsideration, this Court issued an amended

Memorandum Opinion on February 4, 2016. (ECF No. 320). On February 18, 2016, Diamond

Offshore Company filed a second motion for leave to file interlocutory appeal of the Bankruptcy

Court’s February 4, 2016, Memorandum Opinion and accompanying Order. (4:16-cv-00420 at

Dkt. No. 2).

        The Bankruptcy Court issues this recommendation on whether the District Court should

grant Diamond’s second motion for leave to file interlocutory appeal of the February 4

Memorandum Opinion and accompanying Order. (4:16-cv-00420 at Dkt. No. 2).

        For the reasons set forth below, the Court now amends the February 4, 2016

Memorandum Opinion by placing the tracing burden on the Trustee.

                                            Standard

        28 U.S.C. § 158(a) authorizes a district court to grant leave to appeal an interlocutory

order from a bankruptcy court, but does not indicate the appropriate legal standard the district

court should use in determining whether to grant leave to appeal. In re Ichinose, 946 F.2d 1169,

1176 (5th Cir. 1991).      In the absence of such a standard, the district courts have typically

considered the 28 U.S.C. § 1292(b) factors when determining whether to grant leave to appeal an

interlocutory order. Goldin Associates, L.L.C. v. Cent. Boat Rentals, Inc., 2008 WL 1782284, at

*2 (W.D. La. Apr. 18, 2008).       This standard requires that three elements are met: “(1) a




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controlling issue of law must be involved; (2) the question must be one where there is substantial

ground for difference of opinion; and (3) an immediate appeal must materially advance the

ultimate termination of the litigation. In re Ichinose, 946 F.2d at 1177 (assuming without

deciding the § 1292(b) test applies); Ahrenholz v. Bd. Of Trs. Of Univ. of Ill., 219, F.3d 675, 676

(7th Cir. 2000) (stating that the § 1292(b) elements are conjunctive, and “[u]nless all the[] criteria

are satisfied” a court may not certify its order for an interlocutory appeal.) (emphasis in original).

       Appeal of a bankruptcy court’s interlocutory order is limited to cases presenting

exceptional circumstances.     Royce Homes L.P., 466 B.R. 81, 94 (S.D. Tex. 2012).               Such

exceptional circumstances must exist to advance “the strong policy behind the finality

requirement, which favors avoiding piecemeal appeals, interference with bankruptcy

administration, and waste of judicial resources.” In re Global Marine, Inc., 108 B.R. 1007, 1009

(S.D. Tex. 1988).

                                              Analysis

       Diamond alleges that the Court made four legal errors in its Memorandum Opinion on

controlling questions of law for which there are substantial grounds for a difference of opinion

and the resolution of which will materially advance the termination of litigation:

   1. The Bankruptcy Court erroneously held that the Trustee was not required to
      recharacterize the payments the debtor made to Diamond Offshore in order to recover.
      Diamond alleges that the Trustee must first recharacterize the royalty payments as
      financing payments before it can recover the proceeds under § 547. Diamond alleges that
      the Trustee cannot do this because the Trustee sold the recharacterization claims to
      Bennu, as evidenced by the Asset Purchase Agreement (“APA”).

   2. The Bankruptcy Court erroneously held that it is Diamond’s obligation to trace the source
      of the funds used to make the alleged preferential transfers. Diamond alleges that it is the
      Trustee’s burden to plead and prove that the preference payments were made from assets
      in which the debtor had an interest, and the Bankruptcy Court erred in determining that
      Diamond had the tracing burden.




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    3. The Bankruptcy Court erroneously held that there is a question regarding whether
       property held in constructive trust is property in which the debtor has an interest.
       Diamond alleges that because an estate has no interest in property it holds in constructive
       trust, the debtor had no interest.

    4. The Bankruptcy Court erred in its construction of the APA when it determined that the
       Trustee retained the right to pursue § 547 preference claims against Diamond. Diamond
       alleges that the Asset Purchase Agreement unambiguously conveyed the § 547 claims to
       Bennu.

(See Dist. Dkt. No. 2 at 4-5).

Controlling Question of Law

        The ‘controlling question of law’ requirement of § 1292(b) is closely related to the

requirement that an appeal materially advance the termination of litigation. Ryan v. Flowserve

Corp., 444 F.Supp.2d 718, 723 (N.D. Tex. 2006). “Although technically the question of whether

there is a controlling issue of law is distinct from the question of whether certification would

materially advance the ultimate termination of the litigation, in practice the two questions are

closely connected.” S.E.C. v. Credit Bancorp, Ltd., 103 F. Supp. 2d 223, 227 (S.D.N.Y. 2000).

Some courts have dispensed with addressing the more abstract “controlling question of law

requirement” in favor of addressing the more pragmatic requirement that “immediate appeal may

materially advance the outcome.” Coates v. Brazoria Cty. Tex., 919 F. Supp. 2d 863, 868 n. 4

(S.D. Tex. 2013); 16 Fed. Prac. & Proc. Juris. § 3930 (3d ed.).

        Diamond does not raise any issues of fact in its motion that would be precluded by the

“controlling question of law” requirement. Accordingly, this requirement is not a basis upon

which to deny Diamond leave to file interlocutory appeal for any of the legal errors it has

identified.




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Substantial Ground for Difference of Opinion

       Courts will find a substantial ground for difference of opinion if (1) a trial court rules in a

manner which appears contrary to the rulings of all courts of appeal that have reached the issue,

(2) if the circuits are in dispute on the question and the court of appeals of the circuit has not

spoken on the point, (3) if complicated questions arise under foreign law, or (4) if novel and

difficult questions of first impression are presented. 4 Am. Jur. 2d Appellate Review § 123;

Coates v. Brazoria Cnty. Tex., 919 F. Supp. 2d 863, 868 (S.D. Tex. 2013) (the “threshold for

establishing a substantial ground for difference of opinion is higher than mere disagreement or

even the existence of some contrary authority.”).

Claims 1 and 4

       Two of the legal errors Diamond asserts (1 and 4), challenge the Court’s interpretation of

the APA. The APA identifies certain assets and claims the estate sold to Bennu, including the

right to seek to recharacterization of the overriding royalty interests as disguised debt

instruments. Diamond alleges that the Court erred in its construction of the APA when it

concluded that the Trustee could pursue its § 547 claims without recharacterizing the overriding

royalty interest as a disguised debt instrument. (Id. at 5). Diamond also argues that the APA

unambiguously conveyed the § 547 claims to Bennu. (Dist Dkt. 2 at 5).

       Diamond argues that the APA is unambiguous, and because this Court failed to give the

correct effect to its language, there exists substantial ground for difference of opinion regarding

the contract’s meaning.

       In Diamond’s reply, it asserts “[t]he issue is not difficult—the APA does not reserve

claims under § 547 to the Trustee, it only reserved a claim to the proceeds of such an action

under § 550 to the Trustee. Thus, the Bankruptcy Court erred in holding that the APA saved




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§ 547 claims for the Trustee.” (Dist. Dkt. No. 11 at 6) (emphasis in original). However, under

the APA, “the Purchased Assets . . . exclude[] any claims under Chapter 5 of the Bankruptcy

Code, other than claims pursuant to Section 549 of the Bankruptcy Code.” (Case No. 12-36187;

ECF No. 2706 at 26). A plain reading of the APA appears to reserve § 547 claims for the

Trustee. The Court found as much in its Memorandum Opinion.

       A difference of opinion on how to read a contract is hardly the type of alleged error that

would justify an interlocutory appeal. A vast number of commercial disputes include contract

interpretations. Such routine matters (difficult as they may be) do not justify an interlocutory

appeal. See Ahrenholz v. Bd. of Trustees of Univ. of Illinois, 219 F.3d 675, 676 (7th Cir. 2000)

(“[T]he question of the meaning of a contract, though technically a question of law when there is

no other evidence but the written contract itself, is not what the framers of section 1292(b) had in

mind. . . .”). Diamond has not identified any authority suggesting the Court should have arrived

at a different result. It merely asserts the APA prohibits the Court’s conclusion. Disagreement

with the Court’s conclusion alone does not create “substantial ground for difference of opinion.”

Claims 2 and 3

       The remaining legal errors are related. In its Memorandum Opinion, the Court found that

that the Trustee has the burden of proving that the transferred property was estate property.

(Case No. 12-3425; ECF No 320 at 18); 11 U.S.C. § 547(b). The Court then ruled that if ATP

could satisfy its burden that it had legal title to the funds, a legal presumption of equitable title

would arise. Diamond would then have to rebut the presumption by tracing the funds ATP

remitted from its commingled account and establish that they were attributable to Diamond’s

ORRI. Id. at 20.




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        Between the date of the Court’s initial and amended opinions, the Fifth Circuit addressed

the burden of proof on tracing in a § 547 preference lawsuit by a trustee. Although no party has

cited to the opinion, the Court finds the opinion controls the outcome of this issue. In re Tusa-

Expo Holdings, Inc., 811 F.3d 786 (5th Cir. 2016).

        In Tusa-Expo, the Fifth Circuit held that—notwithstanding the UCC’s tracing

requirement to the contrary—the burden of proof for tracing in a preference lawsuit rests

squarely on the shoulders of the chapter 7 trustee. Id. at 798.

        Because there is now controlling authority in this Circuit, the Court amends its February

4, 2016 Memorandum Opinion. The tracing burden of proof is on the Trustee.

        Diamond also asserts that the Court erred when it stated, in a footnote, that “some courts

have rejected the applicability of the constructive trust doctrine in bankruptcy preference

litigation.” (Id. at 20 n. 12). Diamond alleges this finding is subject to substantial ground for

difference of opinion because the Fifth Circuit has firmly held that a bankruptcy estate has no

interest in property it holds in constructive trust. In re Haber Oil Co., 12 F.3d 436, 435-36 (5th

Cir. 1994). The Court’s Memorandum Opinion does not violate the holding in Haber Oil. On

the contrary, the Court outlined how Diamond could use the trust theory to rebut the presumption

of equitable title in favor of the Trustee:

                Under the trust doctrine, a trustee cannot recover funds for the
                benefit of the estate once it has been determined that the
                transferred funds were trust assets, as those assets do not become
                property of the debtor’s estate. When a debtor holds property in
                trust under applicable non-bankruptcy law, the equitable interest in
                that property belongs to the trust beneficiary, not the debtor. The
                equitable interest does not become Estate property.

(Case No. 12-3425; ECF No 320 at 19) (citations omitted). In the footnote, the Court was

merely acknowledging that some courts have rejected the applicability of constructive trust




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doctrine in bankruptcy preference litigation. The footnote does not prejudice Diamond’s ability

to argue that it has equitable title to the funds under a constructive trust theory.

        Because this Court has now amended its error in the February 4 Memorandum Opinion,

and because the footnote does not indicate any substantial dispute over a question of law, the

Court rejects issues 2 and 3 as a basis for an interlocutory appeal.

Materially Advance the Ultimate Termination of the Litigation

        The requirement that an interlocutory appeal materially advance the ultimate termination

of the litigation reflects a policy that interlocutory review is only appropriate in extraordinary

cases in which a decision might avoid protracted and expensive litigation. 4 Am. Jur. 2d

Appellate Review § 124.

        The only legal error the resolution of which Diamond alleges would have materially

advanced the ultimate termination of the litigation is the tracing issue. (See Dist. Dkt. No. 2 at 6-

7, 11 at 9). Diamond argues that placing the burden on it to employ common law tracing

principles to establish its equitable interest in funds it received from ATP would constitute “a

monumental waste of time and resources.” (Dist. Dkt. No. 2 at 7); (Case No. 12-3425; ECF No

320 at 23). That issue is now resolved in Diamond’s favor.

        Additionally, other claims remain in the adversary proceeding that would be unaffected

by the tracing issue, preventing early termination of the litigation. (Dist. Dkt. No. 10 at 18)

(“such as Diamond’s actions for breach of contract, fraud, conversion, request for constructive

trust and recovery of attorney’s fees . . . .”). When a court rules on a motion that does not

resolve all liability issues, an interlocutory appeal may lead to piecemeal litigation and delay, not

advance, the entire litigation. Solis v. Universal Project Mgmt., Inc., 2009 WL 2018260, at *6

(S.D. Tex. 2009).




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Sufficiency of Pleading

       To the extent Diamond continues to seek interlocutory appeal based on the sufficiency of

the Trustee’s pleadings, the Court recommends that the District Court deny such relief. While it

is not an unbending rule, “[c]hallenges to the sufficiency of a pleading are not generally the

appropriate subjects of interlocutory review, as reversal on interlocutory appeal at most could

lead only to a remand for repleading, with the possibilities of further interlocutory appeals

thereafter.”   In re Manhattan Investment Fund Ltd., 288 B.R. 52 (S.D.N.Y. 2002) (internal

citations omitted). Diamond’s argument that interlocutory appeal based on pleading sufficiency

is uniquely appropriate in a bankruptcy case because “[w]aiting for the conclusion of the entire

bankruptcy proceeding to hear appeal of important interim rulings would not be feasible or

efficient . . .” is unavailing. (Dist Dkt. No. 11). The underlying case is an adversary proceeding,

free of the secondary and tertiary issues in the main bankruptcy case that might unduly delay a

final order, ripe for appeal. In re England, 975 F.2d 1168, 1172 (5th Cir. 1992) (“Finality in

bankruptcy cases is contingent upon the conclusion of an adversarial proceeding within the

bankruptcy case, rather than the conclusion of the entire litigation.”).

                                            Conclusion

       Accordingly, the Court recommends that the District Court deny Diamond’s motion for

leave to file interlocutory appeal.

       SIGNED June 29, 2016.


                                                   ___________________________________
                                                               Marvin Isgur
                                                   UNITED STATES BANKRUPTCY JUDGE




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